       Case 2:10-cv-01337-DSC Document 1 Filed 10/12/10 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA
                                   COURT FILE NO.:


TINA MCELHINNY f/k/a TINA M.
TRAFICANTE

             Plaintiff,                                            COMPLAINT
vs

MERCHANTS’ CREDIT GUIDE COMPANY,
                                                            JURY TRIAL DEMANDED
            Defendant.


                                      INTRODUCTION

1.   This is an action for damages brought by a consumer pursuant to the Fair Debt Collection

     Practices Act, 15 U.S.C. §1692 (“FDCPA”) and the Telephone Consumer Protection Act,

     47 U.S.C. §227 (“TCPA”).

2.   The Defendant repeatedly placed pre- recorded automated collection calls on

     Plaintiff’s cell phone without her authorization.

                                       JURISDICTION

3.   Jurisdiction of this Court arises under 28 U.S.C. § 1331.

4.   Venue is proper in this District because the acts and transactions occurred here, Plaintiff

     resides here, and Defendant transacts business here.


                                           PARTIES


5.   Plaintiff, Tina McElhinny f/k/a Tina M. Traficante is a natural person who resides in the

     city of Jeannette, County of Westmoreland, Commonwealth of Pennsylvania, and is

     a “consumer” as that term is defined by 15 U.S.C. 1692a(3).




                                               -1-
        Case 2:10-cv-01337-DSC Document 1 Filed 10/12/10 Page 2 of 5




6.    Defendant, Merchants’ Credit Guide (hereinafter “MCG”) is a debt collection agency

      operating from an address of 223 W. Jackson Boulevard, 9th Floor, Chicago, Illinois

      60606 and is a “debt collector” as that term is defined by 15 USC §1692a(6).


                                 FACTUAL ALLEGATIONS

7.    Defendant MCG is attempting to collect a financial obligation that was primarily for

      personal, family or household purposes, that allegedly went into default for late payment

      and is therefore a “debt” as that term is defined by 15 USC §1692a(5).

8.    The alleged debt was purchased, cosigned or placed otherwise to the Defendant for

      collection, when thereafter Plaintiff started receiving automated messages on her cell

      phone from Defendant in an attempt to collect this debt.

9.    All of the communications occurred within a year preceding the filing of this complaint.

10.   Except as otherwise noted, all calls were made by a pre-recorded, automatic telephone

      dialing system, commonly called an auto-dialer.

11.   Plaintiff did not give permission or authorization, directly or indirectly to Defendant to

      place, nor for her to receive, automated telephone calls on her cell phone.. There was no

      established business relationship between the parties.

12.   The calls violated Plaintiff’s rights to privacy and tranquility.

13.   Plaintiff found these repeated phone calls to be stressful, annoying and anxiety

      producing.

14.   Defendant left (15) automated messages on Plaintiff’s cell phone on the following dates:

      July 22, 2010, July 28, 2010, August 1, 2010, August 5, 2010, August 9, 2010, August

      10, 2010, August 13, 2010, August 17, 2010, August 20, 2010, August 25, 2010, August




                                                -2-
            Case 2:10-cv-01337-DSC Document 1 Filed 10/12/10 Page 3 of 5




      30, 2010, September 2, 2010, September 8, 2010, September 13, 2010, and September

      28, 2010.

15.   The automated message is as follows:

               This is a message for “Tina M. Traficante”, If we have dialed the wrong
               number to reach “Tina M. Traficante” please call 866-347-0736 to have this
               number removed from our system. If we have dialed the right number to
               reach, “Tina M. Traficante” but you are not “Tina M. Traficante”, please
               hang up or disconnect if you are not “Tina M. Traficante”. To listen to this
               message, there will now be a 3 second pause in this message……..by
               continuing to listen to this message you acknowledge you are “Tina M.
               Traficante”. You should not listen to this message so that other people can
               hear as it contains personal and private information. There will now be a 3
               second pause of this message to allow you to listen to this message in
               private…….This is “Stacey” from Merchants’ Credit Guide.                This
               communication is from a debt collector. This is an attempt to collect a debt
               and any information obtained will be used for that purpose. Please contact
               us about an important business matter at 888-249-4134, once again that
               number is 888-249-4134. Thank you.

16.   Plaintiff also received six (6) dropped calls from MCG on July 31, 2010, August 4,

      2010, September 16, 2010, September 24, 2010, October 4, 2010, and October 7, 2010.

17.   Plaintiff received a total of 21 telephone calls from Defendant, MCG.

18.   The collection calls were persistent and willful.

19.   Defendant may have initiated other collection calls as well.

20.   These calls from Defendant MCG to Plaintiff are collection communications in violation

      of provisions under the FDCPA, including but not limited to:

      (a)      Contacting Plaintiff repeatedly by the use of an auto-dialer, the Defendant

      engaged in conduct in which the natural consequence thereof is to harass, oppress, or

      abuse, pursuant to 15. U.S.C. §1692d; and

      (b)      Failing to send Plaintiff a 30 day validation notice within five (5) days of the

      initial communication, pursuant to 15 U.S.C. §1692g.




                                               -3-
             Case 2:10-cv-01337-DSC Document 1 Filed 10/12/10 Page 4 of 5




                                 COUNT I.
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. § 1692 et seq.

21.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

       though fully stated herein.

22.    The foregoing intentional and negligent acts and omissions of the Defendant constitute a

       violation of the FDCPA including, but not limited to, each and every one of the above-

       cited provisions of the FDCPA, 15 U.S.C.§1692, et seq.

                            COUNT II.
VIOLATION OF THE TELEPHONE COMMUNICATION PROTECTION ACT (TCPA)
                          47 U.S.C. §227

23.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

       though fully stated herein.

24.    The acts as described above violate the provisions of the TCPA, 47 USC §227.

25.    As a result, Defendant is liable for the statutory remedy of $500.00 to $1,500.00 per

       phone call, pursuant to 47 USC §227(b)(3).



                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:

       (a)      Actual damages;

       (b)      Statutory damages;

       (c)      Attorneys fees and costs; and

       (d)      Such other further relief as the Court shall deem just and proper.

                                                   Respectfully submitted,
October 12, 2010
                                                   JEFFREY L. SUHER, P.C.



                                                 -4-
Case 2:10-cv-01337-DSC Document 1 Filed 10/12/10 Page 5 of 5




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                            -5-
